                                                     U.S. Department of Justice

                                                     Rachael S. Rollins
                                                     United States Attorney
                                                     District of Massachusetts


Main Reception: (617) 748-3100                       John Joseph Moakley United States Courthouse
                                                     1 Courthouse Way
                                                     Suite 9200
                                                     Boston, Massachusetts 02210

                                                     March 23, 2022

Sean M. Smith, Esq.
Murphy & Rudolph, LLP
One Mercantile Street, Suite 740
Worcester, MA 01608

       Re:     United States v. Brandon Brouillard
               Criminal No. 21-CR-40024

Dear Mr. Smith:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Brandon Brouillard (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

       1.      Change of Plea

        As soon as is practicable, Defendant will plead guilty to Counts One and Two (Bank Fraud,
in violation of 18 U.S.C. § 1344) and Count Three (Aggravated Identity Theft, in violation of 18
U.S.C. § 1028A(a)(1)) of the Indictment. Defendant admits that Defendant committed the crimes
specified in these counts and is in fact guilty of each one.

       2.      Penalties

        Defendant faces the following maximum penalties as to Counts One and Two:
incarceration for 30 years; supervised release for 5 years; a fine of $1,000,000 or twice the gross
gain/loss involved in the offense; a mandatory special assessment of $100; restitution; and
forfeiture to the extent charged in the Indictment.

        Defendant faces the following mandatory penalties as to Count Three: incarceration for 2
years (from and after the sentence imposed for bank fraud) supervised release for 1 year; a fine of
$250,000 or twice the gross gain/loss involved in the offense; a mandatory special assessment of
$100; restitution; and forfeiture to the extent charged in the Indictment.
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       3.      Sentencing Guidelines

       As to Counts Ones and Two:

       The U.S. Attorney agrees based on the following calculations, that Defendant’s total
       “offense level” under the Guidelines is 22:

               a) Defendant’s base offense level is 7 (USSG § 2B1.1(a)(1));

               b) Defendant’s offense level is increased by 14, because the combined actual and
                  attempted losses is greater than $550,000 (USSG § 2B1.1(b)(1)(H));

               c) Defendant’s offense level is increased by 2 because the offense involved 10 or
                  more victims (USSG § 2B1.1(b)(2)(A)(i));

               d) Defendant’s offense level is increased by 2 because he was an organizer, leader,
                  manager or supervisor in the instant criminal activity (USSG § 3B1.1(c)); and

               e) Defendant’s offense level is reduced by 3 because Defendant has accepted
                  responsibility for Defendant’s crimes (USSG § 3E1.1).

       As to Count Three:

       The U.S. Attorney agrees that the defendant’s offense level is governed by USSG § 2B1.6,
which provides that the “guideline sentence is the term of imprisonment required by statute,”
which is two years.

       Defendant understands that the Court is not required to follow this calculation or even to
sentence Defendant within the Guidelines and that Defendant may not withdraw Defendant’s
guilty plea if Defendant disagrees with how the Court calculates the Guidelines or with the
sentence the Court imposes.

        Defendant also understands that the government will object to any reduction in Defendant’s
sentence based on acceptance of responsibility if: (a) at sentencing, Defendant (directly or through
counsel) indicates that Defendant does not fully accept responsibility for having engaged in the
conduct underlying each of the elements of the crimes to which Defendant is pleading guilty; or
(b) by the time of sentencing, Defendant has committed a new federal or state offense, or has in
any way obstructed justice.

       If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration within the Guidelines sentencing range as calculated by the Court
                  at sentencing, excluding departures;

               b) a fine within the Guidelines sentencing range as calculated by the Court at
                  sentencing, excluding departures, unless the Court finds that Defendant is not
                  able, and is not likely to become able, to pay a fine;

               c) a period of supervised release of three years;

               d) a mandatory special assessment of $300, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing;

               e) restitution to be determined; and

               f) forfeiture as set forth in Paragraph 6.

       5.      Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge Defendant’s conviction and sentence on “direct
appeal.” This means that Defendant has the right to ask a higher court (the “appeals court”) to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
and that Defendant’s conviction or sentence should be overturned.

       Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

               a) Defendant will not challenge Defendant’s conviction on direct appeal or in any
                  other proceeding, including in a separate civil lawsuit; and

               b) Defendant will not challenge Defendant’s sentence, including any court orders
                  related to forfeiture, restitution, fines or supervised release, on direct appeal or
                  in any other proceeding, including in a separate civil lawsuit.

        Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant’s conviction and sentence will be final when the Court issues a written judgment after
the sentencing hearing in this case. That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant’s conviction and sentence, regardless
of whether Defendant later changes Defendant’s mind or finds new information that would have
led Defendant not to agree to give up these rights in the first place.

       Defendant is agreeing to give up these rights at least partly in exchange for concessions the
U.S. Attorney is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant’s lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant’s conviction or sentence overturned.

       6.      Forfeiture

         Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

       7.      Civil Liability

       This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

       8.      Breach of Plea Agreement

        Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following
Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attorney
the right to be released from the U.S. Attorney’s commitments under this Agreement, to pursue
any charges that were, or are to be, dismissed under this Agreement, and to use against Defendant
any of Defendant’s statements, and any information or materials Defendant provided to the
government during investigation or prosecution of Defendant’s case—even if the parties had
entered any earlier written or oral agreements or understandings about this issue.

        Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

       9.      Who is Bound by Plea Agreement

       This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

       10.     Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

                                        *        *      *

       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney John T. Mulcahy.

                                                     Sincerely,

                                                     RACHAEL S. ROLLINS
                                                     United States Attorney

                                             By:      /s/ Danial E. Bennett
                                                      DANIAL E. BENNETT
                                                      Acting Chief, Worcester Branch Office


                                                      /s/ John T. Mulcahy
                                                      JOHN T. MULCAHY
                                                      Assistant U.S. Attorney

                       ACKNOWLEDGMENT OF PLEA AGREEMENT

       I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney’s Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney’s Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case.

       I understand the crimes I am pleading guilty to, and the maximum penalties for those
crimes. I have discussed the Sentencing Guidelines with my lawyer and I understand the
sentencing ranges that may apply.

       I am satisfied with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charges against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.
        I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offenses. I believe this Agreement is in my best interest.


                                                  /s/ Brandon Brouillard
                                                 Brandon Brouillard
                                                 Defendant

                                                 Date:      04/05/2022

       I certify that Brandon Brouillard has read this Agreement and that we have discussed what
it means. I believe Brandon Brouillard understands the Agreement and is entering into it freely,
voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any other offers
regarding a change of plea in this case.


                                                   /s/ Sean M. Smith
                                                 Sean M. Smith
                                                 Attorney for Defendant

                                                 Date:      04/05/2022
